                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

  UNITED STATES OF AMERICA                          )
                                                    )
  v.                                                )             No. 3:16-CR-011
                                                    )
  AMANDA HAYES                                      )

                              MEMORANDUM AND ORDER

        In May 2020, the defendant filed a pro se motion for compassionate release pursuant

 to 18 USC § 3582(c)(1)(A), citing the COVID-19 pandemic and cases of Legionnaires’

 disease at her prison. [Doc. 236]. That filing was rendered moot by a July 27, 2020 counseled

 motion for compassionate release, with supplement. [Docs. 244, 248]. The United States

 responded in opposition to the counseled motion. [Docs. 250, 254, 255].

        On September 3, 2020, the Court directed the parties to provide additional briefing,

 observing that:

        Among the issues in this case is the documented presence of Legionnaires’
        disease at the defendant’s prison as of January 28, 2020. [Doc. 244, ex. B].
        The record before the Court is silent as to the current status of that problem,
        and the Court therefore finds itself without sufficient information to decide the
        instant motions.
        The parties are accordingly directed to file supplemental briefing, solely on the
        issue of the current presence of Legionnaires’ disease and Legionella bacteria
        at the defendant’s prison, no later than September 24, 2020. Reply briefs are
        unnecessary but may be filed no later than October 1, 2020.

 [Doc. 256] (emphasis in original). The parties have thoroughly complied with that order

 [docs. 257, 258, 260] and the motion is now ripe for review. As provided below, the motion

 will be denied.



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                                       I.   BACKGROUND

        In March 2017, the Honorable Thomas W. Phillips sentenced the defendant to a 120-

 month term of imprisonment for conspiring to distribute methamphetamine. The defendant

 is presently housed at FCI Coleman Low with a scheduled release date of September 5, 2024.

 See Bureau of Prisons, https://www.bop.gov/inmateloc/ (last visited Oct. 14, 2020). Through

 counsel, the defendant moves for immediate compassionate release citing asthma, anemia, a

 history of cancer, the risk of Legionnaires’ disease, the COVID-19 pandemic generally, and

 her July 2020 bout with that virus.

                           II.    COMPASSIONATE RELEASE

        Section 3582(c)(1)(A)(i) of Title 18, United States Code, allows district courts to

 consider prisoner motions for sentence reduction upon a finding of “extraordinary and

 compelling reasons.” That statute, as amended by the First Step Act of 2018, provides in

 relevant part:

        [T]he court, upon motion of the Director of the Bureau of Prisons [“BOP”], or
        upon motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a
        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
        such a request by the warden of the defendant’s facility, whichever is earlier,
        may reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set
        forth in section 3553(a) to the extent that they are applicable, if it finds that—

           (i) extraordinary and compelling reasons warrant such a reduction ... and
           that such a reduction is consistent with applicable policy statements issued
           by the Sentencing Commission....

 18 U.S.C. § 3582(c)(1)(A). Prior to the First Step Act, a motion for compassionate release

 could only be brought by the BOP Director, not a defendant. See 18 U.S.C. § 3582(c)(1)(A)

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 (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant to file a motion

 for compassionate release after first asking the BOP to file such a motion on her behalf. See,

 e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). Beyond this change, the statute

 still applies the same requirements to a defendant’s motion for compassionate release as

 previously applied to motions by the BOP Director. See, e.g., United States v. Beck, 425 F.

 Supp. 3d 573, 578-79 (M.D.N.C. 2019).

        The United States Sentencing Commission has promulgated a policy statement

 regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

 the accompanying application notes. See United States v. McGraw, No. 2:02-cr-00018-LJM-

 CMM, 2019 WL 2059488, at *3 (S.D. Ind. May 9, 2019). While that particular policy

 statement has not yet been updated to reflect that defendants (and not just the BOP) may move

 for compassionate release, courts have universally turned to U.S.S.G. § 1B1.13 to provide

 guidance on the “extraordinary and compelling reasons” that may warrant a sentence

 reduction. Id. at *2 (citations omitted). Moreover, the Court has no reason to believe that

 the identity of the movant (either the defendant or the BOP) should have any impact on the

 factors the Court should consider. See id. (concluding likewise).

        As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A)(i),

 the compassionate release analysis requires several findings. First, the Court must address

 whether “[e]xtraordinary and compelling reasons warrant the reduction” and whether the

 reduction is otherwise “consistent with this policy statement.” U.S.S.G. § 1B1.13(1)(A), (3).

 If such reasons are shown, the Court must then determine whether a movant is “a danger to

 the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

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 U.S.S.G. § 1B1.13(2). If the Court so finds, it must then consider the § 3553(a) factors, “to

 the extent they are applicable.” U.S.S.G. § 1B1.13.

     A. Exhaustion

       The defendant has previously submitted a request for compassionate release to the

 BOP, and more than 30 days have passed since that request was received by the warden.

 [Doc. 255, ex. 1]. The Court thus has authority under § 3582(c)(1)(A) to address the instant

 motion. See Alam, 960 F.3d at 832.

     B. Merits

       Movants bear a threshold burden of demonstrating the existence of extraordinary and

 compelling reasons warranting compassionate release.           Addressing that burden, the

 Application Notes to guideline 1B1.13 provide in material part:

         1. Extraordinary and Compelling Reasons.— ... [E]xtraordinary and
            compelling reasons exist under any of the circumstances set forth below:

         (A) Medical Condition of the Defendant.—

         (i)     The defendant is suffering from a terminal illness (i.e., a serious and
                 advanced illness with an end of life trajectory). A specific prognosis
                 of life expectancy (i.e., a probability of death within a specific time
                 period) is not required. Examples include metastatic solid-tumor
                 cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease,
                 and advanced dementia.

         (ii)    The defendant is—

                (I)     suffering from a serious physical or medical condition,

                (II)    suffering from a serious functional or cognitive impairment, or

                (III)   experiencing deteriorating physical or mental health because of
                        the aging process,


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         that substantially diminishes the ability of the defendant to provide self-care
         within the environment of a correctional facility and from which he or she is
         not expected to recover.

 U.S.S.G. § 1B1.13 cmt. n.1.

        The Court will address the instant motion under subsection (A)(ii)(I). As noted above,

 the defendant seeks compassionate release due to asthma, anemia, COVID-19, a history of

 cancer, and the risk of Legionnaires’ disease.

        The defendant tested positive for COVID-19 in July 2020. [Doc. 254]. On August

 10, 2020, BOP medical staff noted that the defendant had been asymptomatic for ten days or

 more. [Id.]. There was “resolution of all symptoms” and the defendant was released from

 quarantine. [Id.].

        The defendant is treated for asthma and unspecified anemia. [Doc. 248]. Additionally,

 an oral lesion was found in 2019. [Id.]. In March 2020, the lesion was surgically removed.

 [Doc. 254]. Thankfully, pathology determined that it was benign. [Id.].

        In January and February of this year, there were four confirmed and 25 suspected cases

 of Legionella at the defendant’s prison, all of whom were then treated. [Doc. 260]. The

 defendant tested negative. [Id.]. Since January, the BOP has undertaken extensive remedial

 measures to eliminate Legionella bacteria at the defendant’s facility. [Id.; doc. 258, exs. 3,

 4]. According to the declaration of Hector Rivera, the camp administrator at the defendant’s

 prison, “there are no known active Legionella cases at the Camp” as of September 28, 2020.

 [Doc. 260]. Through counsel, the defendant acknowledges that she “has been unable to

 obtain any current information regarding the presence of Legionnaire’s disease or Legionella

 bacteria at the FCC Coleman – Satellite Camp facility.” [Doc. 257, p. 3].

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         On the record before it, the Court concludes that the defendant’s cited medical

 conditions are not of the severity contemplated by guideline 1B1.13’s policy statement. See,

 e.g., United States v. Peaks, No. 16-20460, 2020 WL 2214231, at *2 (E.D. Mich. May 7,

 2020) (medically managed serious health conditions, paired with a generalized fear of

 COVID-19, fell short of “extraordinary and compelling reasons” justifying compassionate

 release). The COVID-19 pandemic cannot alone justify compassionate release. See, e.g.,

 United States v. Shah, No. 16-20457, 2020 WL 1934930, at *2 (E.D. Mich. April 22, 2020)

 (“[S]peculation as to whether COVID-19 will spread through Defendant’s detention facility

 . . . , whether Defendant will contract COVID-19, and whether he will develop serious

 complications, does not justify the extreme remedy of compassionate release.”); see also

 United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-

 19 in society and the possibility that it may spread to a particular prison alone cannot

 independently justify compassionate release[.]”).

      The BOP’s SENTRY Report shows that the defendant is categorized as Care Level 1.

 “Care Level 1 inmates are less than 70 years of age and are generally healthy. They may

 have limited medical needs that can be easily managed by clinician evaluations every 6 to 12

 months.” See http://www.bop.gov/resources/pdfs/care_level_classification_guide.pdf (last

 visited Oct. 7, 2020). Further, the SENTRY Report indicates that the defendant remains able

 to work as a landscaper at her prison.

      For these reasons, the Court finds that the defendant has not met her burden of showing

 that she suffers from a “serious physical or medical condition … that substantially diminishes

 the ability of the defendant to provide self-care within the environment of a correctional

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 facility and from which he or she is not expected to recover.” The motion must accordingly

 be denied. 1

                                            III. CONCLUSION

          As provided herein, the defendant’s pro se motion for compassionate release [doc.

     236] is DENIED AS MOOT. Her counseled motion [doc. 244] must be and is DENIED.

                 IT IS SO ORDERED.

                                                                    ENTER:



                                                                             s/ Leon Jordan
                                                                       United States District Judge




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  Nonetheless, the Court is compelled to note the obvious rehabilitative efforts being put forth by the defendant.
 Her counseled motion documents her work ethic, remorse, positive attitude, and efforts to maintain family
 relationships. The SENTRY Report shows a clean disciplinary record and participation in educational and
 vocational programming. As the defendant is no doubt personally aware, not every inmate uses her or his
 prison time in such a positive manner. The Court wholeheartedly congratulates the defendant and encourages
 her to stay on her current path.
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